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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
8    LKIMMY, INC., a Nevada corporation,                Case No.: 2:20-cv-02184-RFB-VCF
 9                  Plaintiff,
                                                                __________
                                               STIPULATION AND [PROPOSED]
10   vs.                                       ORDER TO MODIFY THE BRIEFING
11                                             SCHEDULE FOR DEFENDANT'S
     BANK OF AMERICA, N.A., a national banking MOTION FOR SUMMARY JUDGMENT
12   association; IL KIM aka JULIUS KIM, an
     individual; DOES I through X; and ROE     (First Request)
13   BUSINESS ENTITIES I through X; inclusive,

14                  Defendants.

15          Plaintiff, LKimmy, Inc. ("LKimmy"), and Defendant, Bank of America, N.A. ("BANA"),
16   by and through their respective counsel of record, hereby stipulate and agree to modify the briefing
17   schedule for BANA's motion for summary judgment (ECF No. 46] filed on September 10, 2021.
18   Specifically, the parties agree that the deadline for Plaintiff to respond to BANA 's motion for
19   summary judgment shall be extended from its current deadline of September 24, 2021 to
20   September 29, 2021; and further agree that the deadline for BANA to file its reply in support of its
21   motion for summary judgment shall be extended from the current deadline of October 8, 2021 to
22   October 15, 2021.
23           The parties respectfully submit the foregoing requested modifications are supported by
24   good cause, as the Court has scheduled a hearing on LKimmy's motion to remand [ECF No. 4] for
25   September 24, 2021 [ECF No. 48] which, if granted, would render the parties' competing motions
26   for summary judgment moot.
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 1           This stipulation is submitted in compliance with LR IA 6-1. The parties agree that the
 2   foregoing proposed extensions are not being requested in bad faith or to delay these proceedings
 3   unnecessarily. This is the first stipulation to modify the briefing schedule for BANA's motion for
 4   summary judgment [ECF No. 46].
 5          DATED this 22nd day of September, 2021.
 6
                                                   HONG & HONG LAW OFFICE
 7
 8                                                 Isl Joseph Y. Hong
                                                   JOSEPH Y. HONG, ESQ.
 9                                                 State Bar No. 005995
                                                   1980 Festival Plaza Drive, Suite 650
10                                                 Las Vegas, Nevada 89135
                                                   Attorney for Plaintiff
11
                                                   LKimmy, Inc.
12
13          DATED this 22nd day of September, 2021.

14
                                                   WILSON, ELSER, MOSKOWITZ,
15                                                 EDELMAN & DICKER, LLP
16
                                                   Isl Chad C. Butterfield
17                                                 CHAD C. BUTTERFIELD, ESQ.
                                                   State Bar No. 010532
18                                                 6689 Las Vegas Blvd. South, Suite 200
                                                   Las Vegas, Nevada 89119
19                                                 Attorney for Defendant
                                                   Bank ofAmerica, N.A.
20
21
                                                 ORDER
22
             GOOD CAUSE SHOWN, IT IS SO ORDERED.
23
                        23rd day of ______
            Dated this __           September , 2021.
24
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26                                                       RICHARD F. BOULWARE, II
                                                         UNITED STATES DISTRICT JUDGE
27
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